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                                                                                                                  MENU




                                                           A Better You




     SEMAGLUTIDE: THE FDA APPROVED WEIGHT LOSS
     INJECTIONS WE’VE ALL BEEN WAITING FOR
     by Jenna Kopec on Mar 2, 2022 11:50:02 AM
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     Did you know that approximately 70 percent of Americans struggle with obesity or are considered
     medically overweight? The obesity epidemic is one that healthcare professionals have been trying to
     address for years in order to help individuals lead healthy and fulfilling lives.

     While there are some areas of progress, many people still find it difficult to lose weight and keep it off
     in order to maintain their health. That’s why so many end up trying multiple different weight
     management programs throughout their lifetime. Thankfully, there are new solutions that can help
     individuals on their weight loss journeys, such as the recently FDA-approved use of semaglutide.

     However, in order to understand whether or not a weight-loss treatment may be right for you, you first
     have to understand the causes and risks of obesity.


     What is leading to the obesity struggle for so many
     individuals?
     If you are someone who is struggling with weight loss, you are not alone. Part of the reason that
     weight has become such an epidemic in this modern society is that there is a combination of
     environmental and physiological factors at play.
     Genetics certainly play a part in where an individual holds fat and how fast their metabolism is.
     Therefore, if an individual has many family members who are overweight, it is more likely for that
     person to be overweight as well. For women, pregnancy and childbirth can lead to weight gain. Many
     women struggle to lose this weight after childbirth and sometimes this leads to being considered
     overweight or obese. Additionally, certain health conditions may make it more likely for a person to be
     overweight.
     Environmental factors can also impact whether or not a person struggles with obesity. The foods that a
     person eats growing up as well as their current diet can play a significant role in their weight. Likewise,
     whether or not you have access to a place where you can safely exercise may impact your weight.



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     Finally, the sedentary lifestyle that is common for so many of us with office jobs exaggerates all of
     these other factors. This is likely a huge contributor to the weight and obesity problem in the United
     States.

     What are the health risks associated with obesity?
     Unfortunately, weight loss is important for more than just aesthetic reasons. Being obese poses
     serious risks to your health.

     Being overweight can stunt your body’s response to insulin, making it resistant and spiking your blood
     sugar. Ultimately, this resistance to insulin can lead to diabetes. Moreover, obesity is directly linked to
     hypertension (high blood pressure) and high cholesterol which both wreak havoc on the heart.
     Individuals who are obese are more likely to have heart disease, sleep apnea, and fatty liver disease.

     Because obesity poses such serious health threats, it’s important to understand what options there are
     for non-surgical weight loss.


     What options are there for weight loss?




     Although diet and exercise are important tools toward losing weight, many people find that they need
     additional assistance in order to lose weight and keep it off. When trying to develop a weight
     management program, many individuals chose to opt for a treatment program to help their body break
     down fat in a way that is non-invasive and pain-free.

     Some of these kinds of weight loss treatments include:

                 Lipotropic Injections: to help burn fat and stimulate metabolism.

                 Nutrient IV Therapy: to help supplement important nutrients that help provide your body
                 with the tools that it needs to burn fat on its own.
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     Unfortunately, the Food and Drug Administration (FDA) hasn’t approved new treatments that could be
     added to weight loss programs since 2014. That was until the recent approval of semaglutide
     injections.


     What is the FDA-approved semaglutide treatment?
     Semaglutide is a drug that is injected under the skin in order to help regulate the hormones in the body
     that regulate appetite and food intake. The treatment was originally developed to help individuals with
     Type 2 diabetes but has recently been approved by the FDA to help with weight management for those
     with existing conditions related to their weight.

     Semaglutide works by mimicking the specific hormone glucagon-like peptide-1 to limit appetite. The
     treatment is increased over a period of weeks in order to get the best results and minimize negative
     reactions.


     What are the benefits of semaglutide injections?
     The approval of semaglutide is great news for those who have been struggling with weight loss. For
     one, injections are only given once a week, which makes this treatment far more tolerable and
     attainable than treatments of the past.
     Moreover, the treatment has been shown to be effective in clinical trials. What’s most exciting about
     the treatment, is that it can help patients pass the 10 percent weight loss threshold that is needed to
     counteract the health risks that are posed by obesity. This has been a huge barrier for prior
     medications which could help individuals lose weight — but not the amount of weight needed to see
     heath benefits. This is the first medication of its kind that is consistently showing results where it
     matters most.

     How can I move forward with the treatment in my weight
     loss program?
     If you are ready to move forward with a weight management program that works for you, it may be
     time to set up a consultation at any of our Liquivida locations. Our wellness experts can help you
     determine what treatment will best suit your needs and how to get started. This includes semaglutide
     injections!




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     CHOOSING BETWEEN SEMAGLUTIDE AND TIRZEPATIDE:
     WHICH IS RIGHT FOR YOU?
     by Liquivida® on Aug 6, 2024 9:30:00 AM
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     Weight loss is viewed by many as a frustrating cycle of diets and exercise. If you feel like the traditional
     methods don't quite work and you think, “There’s got to be a better way,” you're not alone.

     Science-backed data agrees with you and supports you by viewing your weight loss as a journey that
     offers results, not frustration.

     Meet Semaglutide and Tirzepatide: two game-changing medications shaking up how we approach weight
     management. These drugs aren’t just the next trend; they represent a significant leap forward in our
     understanding of how to achieve and maintain a healthy weight.

     Suppose you’re struggling with obesity and looking for a more effective way to manage your weight. In
     that case, this comparative analysis of Semaglutide and Tirzepatide will help guide you through the
     options, benefits, and considerations to help you make an informed decision on your weight loss journey
     under the guidance of a licensed medical professional.


     Understanding GLP-1 Agonists
     GLP-1 agonists, or glucagon-like peptide-1 receptor agonists, are a class of medications that mimic the
     action of the GLP-1 hormone, which increases insulin secretion, suppresses glucagon release, and slows
     gastric emptying. These effects help regulate blood sugar levels and promote weight loss.


     Understanding Semaglutide
     Semaglutide, marketed under names like Ozempic and Wegovy, is a glucagon-like peptide-1 (GLP-1)
     receptor agonist that has been primarily used to manage type 2 diabetes. However, its potential for weight
     loss became evident through various studies. Semaglutide works by mimicking the GLP-1 hormone, which
     regulates appetite and food intake. By enhancing the feeling of fullness and reducing hunger, it helps
     individuals consume fewer calories.


     Benefits of Semaglutide:
                 Proven Efficacy: Clinical trials have shown that Semaglutide can lead to significant weight
                 loss, with some studies reporting an average loss of 15% of body weight.

                 Appetite Control: The medication effectively reduces appetite, making it easier for individuals
                 to adhere to a calorie-restricted diet.

                 Improved Metabolic Health: Semaglutide not only aids in weight loss but also improves
                 blood sugar control, reducing the risk of diabetes-related complications.


     Side Effects:
             1. Common side effects include nausea, vomiting, and gastrointestinal discomfort, which may
             diminish over time but can be challenging for some patients.


     Exploring Tirzepatide
     Tirzepatide, known by brand names such as Mounjaro and Zepbound, is a dual glucose-dependent
     insulinotropic polypeptide (GIP) and GLP-1 receptor agonist. This unique mechanism of action sets
     Tirzepatide apart, as it targets two key pathways involved in glucose regulation and appetite control.
     Initially developed for type 2 diabetes, Tirzepatide has shown remarkable potential for weight loss.


     Benefits of Tirzepatide
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                 Dual Action: By targeting both GIP and GLP-1 receptors, Tirzepatide may offer enhanced
                 weight loss and glucose control compared to medications that only target one pathway.

                 Significant Weight Loss: Clinical trials have demonstrated that Tirzepatide can lead to even
                 greater weight loss than Semaglutide, with some studies reporting an average loss of 20% of
                 body weight.

                 Metabolic Improvements: Similar to Semaglutide, Tirzepatide also improves metabolic
                 health, reducing the risk of diabetes and cardiovascular diseases.


     Side Effects
             1. Tirzepatide shares similar side effects with Semaglutide, including gastrointestinal issues, though
             many report significantly less discomfort.


     Dieting to GLP-1 Agonists: New Phase
     Dr. Kendrick Heywood, Medical Director at Liquivida Wellness Center in Lauderdale Beach, adds that we
     are no longer solely in the diet phase of weight loss. "Weight loss still involves diet, exercise, and
     supplementation—the three pillars of health—but now we enter the GLP-1 agonist stage with medications
     like Ozempic and the newer Tirzepatide," says Dr. Heywood. “These medications represent the next phase
     of weight loss, offering more control over blood sugar and appetite.”


     The Benefits of GLP-1 Agonists
     Dr. Heywood highlights that, despite rumors about side effects, the benefits of GLP-1 agonists are
     substantial. "I've seen patients improve their A1C, get off insulin and metformin, and even improve their
     cholesterol and kidney function. Losing 30, 40, 50, or even 100 pounds has helped many get off of high
     blood pressure medications," he explains. “The story of these benefits often goes untold, overshadowed
     by the discussion of side effects.”


     Success Rates of Semaglutide and Tirzepatide in Weight
     Loss
     However, a critical aspect to consider is the sustainability of weight loss. Studies indicate that 17% to over
     two-thirds of patients may regain weight after stopping medications like Semaglutide. Dr. Heywood
     asserts, "You cannot replace the pillars of health—nutrition, exercise, and supplementation. In my
     practice, we emphasize these pillars and over 75% of my patients can maintain their weight loss."


     Semaglutide vs. Tirzepatide—Which One Should You Use?
     Choosing between Semaglutide and Tirzepatide for weight loss involves considering individual health
     needs, potential benefits, and possible side effects. Dr. Christopher Davis, the Chief Medical Officer at
     Liquivida®, mentions, “Find a practitioner well-versed with these products. Both Semaglutide and
     Tirzepatide offer promising solutions for those battling obesity and related metabolic issues. Tirzepatide, in
     particular, tends to have fewer side effects and greater weight loss benefits, making it an excellent option
     for individuals who are significantly overweight, have diabetes, or suffer from cardiometabolic syndrome."

     At Liquivida®, our team of dedicated healthcare professionals understands that each journey to better
     health is unique. With our expertise in Semaglutide and Tirzepatide, we offer personalized solutions
     designed to meet your medical history, personal preferences, and treatment needs and goals. If you are
     looking to achieve sustainable weight loss, manage diabetes more effectively, or improve overall health,
     we're here to support you every step of the way.

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     Don't wait to take charge of your health. Schedule your consultation with us today and start the journey
     to a happier, healthier life.




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     WEGOVY RECEIVES FDA APPROVAL AS HEART DISEASE
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     by Liquivida® on Apr 8, 2024 10:45:00 AM
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     The battle against heart disease, one of the leading causes of death globally, has taken a significant stride
     forward with the recent approval of Wegovy by the Food and Drug Administration (FDA). The medication
     in Wegovy, semaglutide, has long been recognized for its efficacy in managing chronic conditions such as
     diabetes and weight loss. However, this new designation as a heart disease prevention drug marks a
     groundbreaking development in the realm of preventive medicine and opens up new avenues for
     combating cardiovascular risks, particularly in overweight and obese patients.

     Semaglutide is a class of medications known as GLP-1 (glucagon-like peptide-1) receptor agonists and at
     Liquivida®, our clients have experienced impressive weight loss results when administered as a once-
     weekly injectable therapy. Now, with the FDA's stamp of approval, Wegovy is officially recognized as a
     weapon in the fight against heart disease. Clinical trials have shown that it not only helps people shed
     pounds but also improves important heart health markers like blood pressure and cholesterol levels. By
     addressing these risk factors, Wegovy could potentially lower the chances of heart attacks and strokes in
     high-risk individuals.

     In the wake of this approval, healthcare professionals recognize the potential of this therapy to
     revolutionize preventive care for overweight and obese patients, who face increased risk of cardiovascular
     disease.Liquivida®, always at the forefront of cutting edge treatments, already offers semaglutide as part
     of a comprehensive weight management program. Administered under medical supervision, semaglutide
     can be a game-changer for individuals struggling with obesity and its associated health complications. At
     Liquivida®, the approval of Wegovy represents a significant milestone in our mission to improve patient
     outcomes. By harnessing the power of this GLP-1 receptor agonist, we can help patients take proactive
     steps towards achieving their weight loss goals and make a real difference in preventing heart disease and
     saving lives.




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     The FDA approval of Wegovy as a heart disease prevention drug is a motivating moment for preventive
     medicine. Wellness centers like Liquivida® are dedicated to delivering preventative, potentially life-saving
     therapies to patients, aligning with our mission of providing holistic approaches in combating chronic
     diseases. It’s a promising step forward in the fight against heart disease, and as we embrace these
     advancements, we move one step closer to healthier, happier, longer lives.




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                             LIPOTROPIC INJECTIONS

                             Affordable and effective.



     Burn fat in problem areas and shape your body to your liking. Our lipotropic injections are quick and easy alternatives
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     How do Lipotropic Injections work?
     Our injections have the compounds necessaries for maintaining a healthy liver, and for burning the exported fat for
     additional energy.


     Weight loss injections speed up the breakdown of fat using your
     body's metabolism.
     It really maximizes how your body uses its current metabolic process by focusing on burning fat for energy. Lipotropic
     injections target specific areas you want to slim down. This is a proven and effective method to sculpting your body and
     maintaining an ideal shape.




                                                   SEMAGLUTIDE

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     Say goodbye to stubborn weight with Semaglutide!
     This powerful medication has been clinically proven to aid in significant weight loss. Whether you're looking to lose a
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     results in as little as 12 weeks. Don't let your weight hold you back any longer, ask about Semaglutide today!




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     Semaglutide is an effective weight loss solution that has been clinically proven to help individuals shed stubborn
     pounds. This medication works by mimicking the effects of GLP-1, a hormone that regulates appetite and metabolism.
     Regular use of semaglutide can help suppress cravings and improve satiety, making it easier to maintain a healthy diet
     and exercise routine. Furthermore, semaglutide has been shown to improve blood sugar and blood pressure levels,
     making it a great option for those with obesity-related health concerns. With regular use, you can start seeing weight
     loss results within just 12 weeks. Read more




                           Overall Benefits:

                Burn more fat in problem areas.


                Weight loss injections give your body more shape.


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      Burn Fat
      Exfoliate Your Skin
      Feel Stronger
      Improve Your Skin
      Looking Younger
      Lose Weight
      Nurture Your Body
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